 

1816-cv16327'

IN THE CIRCUI'I` COURT OF JACKSON C()UNTY, MISSOURI.
AT KANSAS CI'I`Y

JENNIFER HAYDEN
PATRICK HAYDEN,
210 W. S"‘ St, #305
K:\nsas City, MO 64105
Plaintiffs, Case No.

v. Divisinn

AETNA, INC. _

Sel've Re'giste'red Agent:
CT Corpol'ation
120 S. Central Ave
Clayton, MO 63105

EXH|BIT

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Defendant.

PLAIN'I`I FF’S
PETITION FOR DAMAGES

COME NOW plaintiffs Jennit`er and Patrick Hayden, by and through their ccnnsei of
rccord, and for their cause of action against defendant Aetna, Inc., states and alleges as foilows:

I. Plaintiff, lennifer Hayden is a resident of Kansas City, Jackson County, Missouri.

2. Patrick is the husband of Jennifer Hayden,

3. Defen'dant, Aetna, Inc. is and was, at ali times hereinafter ment_ioned, a Missouri
corporation licensed and authorized to do business'in Missouri with it registered agent in Kansas
City, Jackson County, Missouri.

4. Venue' andjurisdiction are proper in this case in that the Plaintiff was first injured
in lackson County, Kansas City, Miss'ouri.

5. 'l`he Plaintiff, Jennifer I-Iayden, has been prescribed 20rng of Tamoxifen Citt'ale

following breast cancer surgery

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_6. On or about 10/17/2016 Plaintiff filled this prescription with the defendant’s

services as she has Aetna benefits as her health plan.

7. On or about 10/23/2017 Plaintiff discovered that the defendant had been filling the
prescriptionimproperly with IOnig of 'l`ainoxifen Citrate.

8. Aftei' the discovery, Piaintiff was ordered to quit taking the incorrect dosage and
began taking the correct dosage

COUNT I

COMES NOW Plaint`iff]ennifer Hayden and for Count I of this petition states:

9. Plaintiff incorporates each and every allegation contained in i’ara`graphs 1-7 as fully
Set forth.

10. Defendant is liable for the negligence of its employees

lt. Defendaat’s Eniployees were negiigent in_one er inore_ of the following ways:

(a) Filling the prescription with the wrong dosage;

(b) F`ailing to take the steps to ensure the prescription was filled with the correct
dose;_

(c) Failing to warn Plaintiff that her prescription had been misHlled.

12. As a result ofthe defendant’s negligence, Plaintiii`s health has been damaged Her
chances of reoccurrence of breast cancer have increased She has incurred medical expenses and
suffered emotional distress

WHEREFORE by reason of the premises contained herein, Plaintiffs pray judgment
against defendant, for such sums as are fair and reasonable together with her costs herein incurred
and for such other relief as the court deeinsjust and proper`.

COUNT Il: LOSS OF CONSORTIUM

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Plaintiff adopts herein, as though more fully,se_t out-, ali the stateinent_s, averments and
allegations contained in Count I of Plaintifi"s Petition for Damages.

13. .iennit`er Hayden is and was at the time of Defendant"s negligence, the iawfully
wedded wife of Patrick Hayden.

l4. As a direct and proximate result of the negligence of Defendant, Patrick Haydcn
was deprived ofJennifcr Hayden’s consortium, services, guidance, love and affection. As a result
of Det`endant’s negligence; Jennifer and Patrick Hayden incurred medical expenses for Jennifer
liayden’s treatment

WHBREFORE by reason of the premises contained herein, Plaintiffs pray judgment
against defendant, for such sums as are fair and reasonable together with her costs herein incurred

and for such other relief as the court deems just and proper.

DEMAND I?OR .TURY TRIAL

Plaintii`f requests a jury trial on all issues in this inatter.

Respectfnily snbmittcd,

Nancy E. Kenner MO #3_ 141 1

Kenner Nyga_ard DeMarea Kendall LLC
1t7 Wcst 20“‘ Street, Suite 201

Kansas City,_Missouri 64108 .
Telcphone: (8i6) 531~3l0()

Facsiinile: (816) 531-3600
nancy@kndklaw.coin

A'I`TORNEY FOR` PLAIN'I`IFF

 

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